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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF JUAN RAMON
                                               MORALES IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR A
                                               PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
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                           Declaration of Juan Ramon Morales

  I, Juan Ramon Morales, upon my personal knowledge, hereby declare as follows:

     1. I am a United States citizen, born in Brooklyn, NY on                     . I am not
         a veteran of the armed services.
     2. I currently live in Liberty, NY and with my wife,
                  , my daughter             and my step-daughter                 . I work as
                                                 in Ferndale, NY and my wife
         works as a                                                      in Liberty, NY. My
         family’s average net annual household income is approximately $47,000.
     3. I currently have a catastrophic health insurance plan through my employer, which
         I originally enrolled in to avoid having to pay a penalty for not having health
         insurance under the Affordable Care Act. This plan has a very high deductible and
         does not cover much in terms of medical care. I have kept the plan because it will
         at least provide some coverage for emergencies and it is otherwise the most
         affordable option my employer offers. Separately,           and I carry medical
         debt in the amount of $950 with a monthly payment of $69.
     4. My daughter           who is a US citizen, and my step-daughter                a
         lawful permanent resident, both have a subsidized health insurance that costs
         approximately $15/month.
     5. My wife,           a national of Mexico, does not have health insurance, nor would
         be allowed to obtain insurance through her current employer. I have asked my
         employer to add her as a dependent to my plan, but my employer told me that she
         is not eligible to be added because she does not have a Social Security Number.
         My employer told me that once she has a Social Security Number, she can be
         added to my catastrophic health plan, but my employer has not provided me any
         written documentation regarding the costs and guaranteeing that they can add her
         to my plan within 30 days of her providing a Social Security Number. There is
         nothing in the paperwork I received when I enrolled in the plan guaranteeing that
         a family member will have effective coverage within 30 days of presenting a
         Social Security Number and be automatically eligible to enroll.


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     6. Based on my conversations with my employer and research I have done, it is also
           highly likely that we will not be able to afford the additional costs necessary to
           add Vianca to my catastrophic plan and, if so, we could afford the additional costs
           to do so because of her prior medical history.
     7. I have read what is considered approved health insurance under the President’s
           Proclamation and the plans are either not available to         and I or
           unaffordable due to our current financial situation. For example,            cannot
           obtain a visitor plan because she is present in the United States and we are not
           eligible for TRICARE or Medicare. Because of her prior illnesses, most options
           outside of subsidized insurance under the Affordable Care Act remain unavailable
           to
     8.             has lived in the United States since 2006. We met that same year in
           Liberty and began dating and fell in love almost immediately. We have been
           inseparable since then. We married in 2013.
     9. In 2010,            was diagnosed with leukemia, and had to have an emergency
           brain surgery. She also has epilepsy and has suffered in the past from seizures.
           Those are under control because she faithfully takes her prescribed medications,
           Keppra for the seizures, and Gabapentin for the headaches, for which she pays
           out-of-pocket approximately $45/month. If she obtained an immigrant visa and
           held status as a lawful permanent resident she would be eligible to receive
           subsidized care and better treatment to make sure she remains healthy.
     10. Perhaps our greatest joy was the birth of our daughter           in       . After nearly
           losing         in 2010 to her illness, I believed that God gave us a new purpose
           with          and she and            mean the world to us both.
     11. In January 2017, I filed an I-130 petition to qualify          as my spouse, so she
           can apply for an immigrant visa. This was approved in July 2017. However,
           because          entered the United States without inspection, under the current
           law she cannot apply for a Green Card from within the United States and will
           have to process her immigrant visa at the US consulate in Ciudad Juarez, Mexico.
           Because she has accumulated more than one year of unlawful presence in the
           United States since her entry, she would be subject to a 10-year bar to returning.



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           In May 2018, she filed an I-601A provisional unlawful presence waiver
           application to overcome that eventual 10-year bar. The waiver is based on the
           extreme hardship that I would suffer if she was not allowed to obtain permanent
           residence. The I-601A process allowed             to file and await approval of this
           application from within the United States as a way to minimize the time I would
           be separated from her. The I-601A application was approved in April 2019.
     12. Since then,             has completed all other required steps of the Consular Process
           and our family is now waiting for her interview to be scheduled in Ciudad Juarez,
           Mexico.
     13.           and I were awaiting the interview when we received news of the October
           4 Presidential Proclamation detailing the ban on             re-entry as an
           immigrant unless she will be covered by approved health insurance within 30
           days of the her entry into the United States, or unless she possesses the financial
           resources to pay for reasonably foreseeable medical costs.
     14. Based on what I have learned from my employer and my own online research, I
           do not believe that          will be able to show that she has health insurance at the
           time of her immigrant visa interview, or that she will have health insurance within
           30 days of coming to the United States with a Green Card. I understand that even
           with successful applications, Green Cards and Social Security numbers are not
           always mailed quickly after a permanent resident’s arrival in the United States.
     15. In addition, given her past health issues, even though she is currently in good
           health and is able to pay for all her current medications, I do not believe that
                   will be able to show that she will be able to pay for all her future medical
           costs at the time of her immigrant visa interview.
     16. If her visa was refused or delayed for any time, she would not be able to refill her
           prescription; she has no place to live in Mexico; she would lose her job in the
           United States; and we would be financially ruined because our family relies on
           her income. Moreover, the refusal of her visa will lead to the revocation of her I-
           601A hardship waiver, which would make her inadmissible to the United States
           for 10 years.




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     17. Because of the lack of any notice and the overall uncertainty about what kind of
        proof would be sufficient to convince a consular officer, I believe that if
        leaves the United States for her consular interview, she will be banned from
        reentering under the Proclamation due to lack of approved health insurance and
        inability to have financial resources to pay for medical costs.
     18. As part of          I-601A application, we proved that I would suffer extreme
        hardship if           immigrant visa application is not approved. We included a
        lot of evidence of the extreme psychological, emotional, financial and physical
        hardship I and my family would suffer if she is denied permanent residence. This
        whole green card process has taken many years so far, and brought up a lot of
        pain for me to envision raising our daughters alone and being separated from the
        love of my life.
     19. As the spouse of an undocumented immigrant, I have experienced firsthand the
        stress of not knowing if I may come home from work one day to find my wife has
        disappeared. I have experienced the disadvantage of not having my wife be able
        to drive because she cannot have a driver license. My wife has been the victim of
        scams and attempted scams, including frightening phone calls from people
        demanding money and threatening to call the immigration police if we did not
        pay. Most frightening has been the worry that if my spouse’s medical condition
        somehow worsens, she could not obtain appropriate medical care because of her
        status. With the approval of the I-601A, we believed we were on the cusp of
        finally putting behind us a very challenging episode in our lives.
     20. I understand that under the new Proclamation I could be indefinitely unable to
        reunite with         after she goes to Mexico to process her visa at the consulate.
        We are in a terrible bind right now. If we do not continue with the consular
        process, we risk losing all the work we have done over the last several years to get
        to this point. If we do continue with the process, there is a real risk that
        visa will be denied and she will be stuck in Mexico without me or our children. It
        is as if we are re-living the extreme hardship all over again – I know that I could
        not live in Mexico with my daughters because of the violence and poverty there,
        and I do not know where our family could all be together that is safe and where



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        we could live without fear and despair. If we are separated, I will be not only
        heartbroken but worried sick about            and her health and safety – I do not
        know if she will have access to her life-saving medications in Mexico, and if she
        does, if we will be able to afford them. I am also worried about our daughters,
        who are very attached to their mother and may want to be with her no matter
        where she is. They will be confused and devastated if their mother is taken away
        from them. And yet we cannot have them live in Mexico where they would be
        without a home, educational opportunities and where they would be certain to live
        in poverty and subjected to constant threats of violence.
     21. When I learned that we could very well suffer this indefinite separation, I felt
        tremendous anxiety and despair, particularly given the whole process we have
        already been through. We have not told our children yet about this new
        Proclamation because we do not want them to worry about being separated from
        their mother.
     22. I am willing to serve as a class representative on behalf of those who are similarly
        situated to me and cannot have family members join them in the United States
        because of this Proclamation.
     23. I know that if the class is certified I will be representing more than just myself in
        this case. I have spoken with the lawyers who represent me about what being a
        class representative means. I want to help everyone in my situation because we
        are all suffering due to the President’s Proclamation.




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